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Trion James v. Port Authority Police Department, Port Authority of New York and New Jersey,
Edward Cetnar (in his official capacity), Christopher McNerney (in his official capacity), and
Does 1-5
Civil No.: 1:22-cv-02463-PGG




          EXHIBIT J
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ORIGINAL
                                                                           Page 1
      UNITED STATES DISTRICT COURT
      FOR THE SOUTHERN DISTRICT OF NEW YORK
     ------------------------------------------ -x
     TRION JAMES,


                                 Plaintiff,
                     -against-
                                      Case NO ::
                                      l:22 - cv - 02463
     PORT AUTHORITY POLICE DEPARTMENT,        PORT
     AUTHORITY OF NEW YORK AND NEW JERSEY,           EDWARD
     CETNAR   (HIS OFFICIAL CAPACITY),      CHRISTOPHER
     MCNERNEY   (IN HIS OFFICIAL CAPACITY),        AND
     DOES 1 -   5
                                 Defendants .

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                     Port Authority of NY and NJ
                     4 World Trade Center,      150 Greenw i ch Street
                     New York,   New York
                     DATE : A December 7,   2022
                     TIME:


                DEPOSITION of TRION JAMES,      the      Plaintiff herein,
      taken by the Defendant,     pursuant to Article 31 of the Civil
      Practice Law & Rules of Testimony,        held at the above-ment i oned
      time and place,   before GABRIELLA TUTINO,          a Stenographic
      Reporter and Notary Public of the State of New York.




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                                                                    Page 2
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 2
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12
       ALSO PRESENT:
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       Sophie Saydah,      Balestriere Fariello,        Paralegal
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                                                                     Page 117
  1        A.   Yes.     It was several weeks prior to this date.

 2         Q.   Did you have to take a written test to be a detective

 3    sergeant?

 4         A.   No.

 5                       (Whereupon,    an announcement was marked as

  6             Defendant's Exhibit H for Identification.)

 7         Q.   Handing you what's marked as Exhibit H for

 8    identification which for the record is a promotional

 g    opportunity announcement for detective sergeant dated .

10    March 16,       2021.     It has Bates-stamp number James 000003

11    through 9?

12         A.   Yes.

13         Q.   Do you recognize that document?

14                        MR.   BALESTRIERE: Take your time and look

15              through it please.

16         A.   I   recognize this document.

17         Q.   Is that the promotional opportunity announcemenb for

18    detective sergeant that you applied for sometime after

19    March 16,       2021?

20        A.    Yes.     So it came out on March 16,    2021.   And I had to

21    submit my,        the things they wanted before March 31st,       so yes

22    March 31.

23        Q.    So you saw this announcement and responded to it;

24    correct?

25        A.    Yes .




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                                                                        Page 134
 1           A.   I   don't know,   I    don't remember.

 2           Q.   Have you spoken to Meyer since this incident in 2009?

 3           A.   Yes.

 4           Q.   When was the last time you spoke to him?

 5           A.   I   don't remember.

 6           Q . Was it within the last year?

 7           A.   No.

 8           Q.   Was it within the last five years?

 9           A.   No.

10           Q.   Did you ever speak with him about this incident?

11           A.   I   don't believe so,      no.

12           Q.   Sarne wi~h him,       he never tried to speak to you about

13    the incident?

14           A.   No,    he didn't . Never tried to speak to me about the

15    incident.

16           Q.   You said with McNerney you had never,          you didn't know

17    him before this incident?

18           A.   We worked at the same command.           But I did not know

19    him.

20           Q.   Have you worked with him since?

21           A.   In what capacity.

22           Q.   In any capacity?

23           A.   No.

24           Q.   Did you every speak with him after this incident about

25    the incident?




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                                                                            Page 135
  1         A.    No.

  2         Q.    Did he ever attempt to speak with you about the

  3   incident after the incident?

  4         A.    Yes ..

  5         Q.    When?

  6         A.    He left a voicemail,         I'm sorry,    what am I   saying,   when

  7   you call and leave a message,              an oral message,    a voicemail,

  8   right.      He left me a voicemail at approximately 7:00 the

  9   following morning.

10          Q.    What did he say in the voicemail?

11          A.    Can't quote verbatim but,         he said words to the effect

12    of,   Trion this is Chris.          I   didn't know who it was because we

13    don't have each others number,              I didn't    know who Chris was.

·14   And he said,          I'd like to talk to you about last night .

15          Q.    Anything else?

16          A.    Meaning.

17          Q.    Did he say anything else in the voicemail?

18          A.   No,    as a   said to the best of my recollection he might

19    have,      that's all I     recall.

20          Q.    Did you call him back?

21          A.   No,    I   did not.

22          Q.    He left this voicemail on your work cell or your

23    personal cell?

24          A.   My personal cell.

25          Q.    Do you know how he had your personal cell phone




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                                                                     Page 138
  1            please rephrase the question.

  2       Q. When you were transferred to JFK in 2022,          is it your

  3   belief that McNerney was involved in that transfer?

  4       A.   Absolutely.

 5        Q.   You also believe that McNerney was involved in you not

  6   being promoted to detective sergeant in 2021?

 ·7       A.   Yes.

 8        Q.   Is    it your belief that he was involved,     that he did

 9    both those things because of your involvement in what happened

10    between in 2009 between McNerney and Meyer?

11        A. As I said that was half of it.

12        Q.   What's the other half?

13        A.   The testimony I gave at PIU,        that's the other half.

14        Q.   But the testimony that you gave to PIU involved the

15    2009 incident;      correct?

16        A . Yes.

17        Q. When were you first questioned about the incident that

18    happened in 2009 between McNerney and Meyer?

19        A. Whatever the date says on the notice to appear at . 5:00

20    in the morning. May 18,        2021,   at 0500 hours.

21        Q.   So,    tell me what you saw in 2009 with McNerney and

22    Meyer?

23        A. At what point,      be more specific.

24        Q. At this Christmas party that you said was in Hoboken

25    in 2009.      You said McNerney viciously attacked Meyer at a bar?




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                                                                            Page 139
 1        A.    Yes.

 2        Q. What did you observe?

 3        A. McNerney viciously slapped Meyer in the face.•

 4        Q.    Anything el~e?

 5        A.    Yes.

 6        Q.    What else did you seeT

 7        A.    I   saw an hour later,         approximately,    I   saw McNerney

 8    punch Anthony Meyer with~ closed fist twice.

 9        Q.    Punch him where?

10        A.    The first punch,        I'm not sure which eye but it was to

11    one of his eyes . The second punch was to his mouth.

12        Q.    Did Meyer do anything that you saw?

13                      MR.   BALESTRIERE: Objection,          vague but

14             answer if you're able.

15        A. You mean,        when,    like.

16        Q.    Did you see Mey take any action towards McNerney?

17        A.   Before or after.

18        Q.   Anytime?

19        A . After Meyer was punched the first time,                  he held his

20    face,    the part that was punched,           his eye,    and he slowly

21    started,      slowly started to look down to his knees.              While he

22    was still in a standing position going down,                   McNerney punched

23    him in the mouth and that's when I              noticed that his eye and

24    his mouth had exploded. Meyer then continued down to the

25    ground 'into almost a fetal position.




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                                                                    Page 140
  1        Q.   When you say his mouth and eye exploded,       what do you

  2   mean?

  3        A . Blood everywhere.

  4        q. What did you do?

  5       A.    Pushed McNerney away from Mey~r.

  6        Q.   How did you do that?

 7        A.    With my palms open .

  8       Q.    What part of McNerney's body did you push away?

  9       A.    Shoulder and chest,    slightly pushed him .

10        Q.    Were you in front of him or behind h i m?

11        A. We were, he was facing Meyer . Meyer was standing to my

12    left and abreast.

13        Q.    So McNerney was also facing you?

14        A.    Yes .

15        Q.    So you never told anyone that you hit McNerney from

16    behind;    correct?

17        A.    I never told anyone I hit McNerney from behind,       no. ·

18        Q. After McNe r ney hit Meyer i n the face and Meye~ was

19    going to the ground,     did he take any other action toward

20    Meyer?

21        A.    As Meyer was going down to the ground , McNerney was

22    going to strike him again. That is why I pushed him to get his

23    attention .

24        Q.    When you say he was going to strike him again,       how do

25    you know that?




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                                                                      Page 141
  1        A.   He was,    he had a clenched fist and he was in an

  2    aggressive fighting stance and he recalled his arm with a

  3    clenched fist to punch Meyer again.

  4        Q.   Did McNerney attempt       to hit you?

  5        A.   That's,    no that's when I    took action.

  6        Q.   That's when you took what?

  7        A.   Police action.

  8        Q.   What did you do?

  9        A.   To stop the vicious attacked,       as a said I    shoved

 10    McNerney to get his attention so he would look to me and not

 11    at Meyer.    He clenched his fist towards me and I         struck

 12    McNerney.

 13        Q.   Where did you strike him?

 14        A.   I struck McNerney closed fist to the face .

 15        Q.   Where?

 16                      MR . RAFALAF:   What part of the face?

 17        A.   The first punch was to his forehead.

 18        Q.   Where was the next punch?

 19        A.   To his,    to the right side of his face .

 20        Q.   Did you punch him again?

 21        A.   No. ·

 22        Q.   Did you take any other physical action toward McNerney

 23    at that point?

 24        ~-   At that point I was, . at that point I was grabbed my

 25    another officer.




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                                                               Page 142
  1        Q.   Who?

  2        A.   I   don't remember.

  3        Q.   When you -- did McNerney attempt to punch you?

  4        A. After I punched ~cNerney he was incapacitated.

  5        Q.   Was he on the ground as well?

  6        A. As well as who.

  7        Q.   You said Meyer was on the ground;     right?

  8        A.   Yes .

  9        Q.   Was McNerney,     did he also go to the ground after you

 10    punched him twice?

 11        A.   Yes,    he did.

 12        Q.   Was he bleeding?

 13        A.   No.

 14        Q.   Did you see Meyer throw any punches or take any

 15    physical action toward McNerney that evening?

 16        A.   No.

17         Q.   So other than McNerney and yourself,     did anyone else

18     get involved in throwing punches that evening?

19         A.   No.

20         Q.   Do you know whether McNerney had been drinking that

21     evening?

22         A.   Yes,    he was.

23         Q.   How would you describe his physical state? Do you

24     think he was intoxicated?

25         A.   Extremely inebriated,     yes.




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